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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
TRIBUNE COMPANY, et al., Case No. 08-13141-KJC
Debtors. Joint Administration Requested
Related to Docket No, 19

CONFIDENTIAL DOCUMENT TO BE KEPT UNDER SEAL

JOINT MOTION OF THE DEBTORS AND BARCLAYS BANK PLC
FOR ENTRY OF AN ORDER AUTHORIZING TO FILE UNDER

SEAL CERTAIN FEE LETTERS
Dated: Wilmington, Delaware Respectfully submitted,
December 9, 2008
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